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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Maia Korman
                                Plaintiff,
v.                                                  Case No.: 1:20−cv−01986
                                                    Honorable Virginia M. Kendall
City Of Chicago, et al.
                                Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, April 13, 2021:


      MINUTE entry before the Honorable Virginia M. Kendall. Attorney Elizabeth
Kathryn Hanford'sMotion to withdraw as attorney [38] is granted. Mailed notice(lk, )




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